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                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 COMMONWEALTH OF PENNSYLVANIA,

        Plaintiff,

        v.
                                                           No. 17-CV-4540-WB
 DONALD J. TRUMP, in his official capacity as
 President of the United States; ALEX M. AZAR
 II, in his official capacity as Secretary of Health
 and Human Services; UNITED STATES
 DEPARTMENT OF HEALTH AND HUMAN
 SERVICES; STEVEN T. MNUCHIN, in his
 official capacity as Secretary of the Treasury;
 UNITED STATES DEPARTMENT OF THE
 TREASURY; RENE ALEXANDER ACOSTA,
 in his official capacity as Secretary of Labor; and
 UNITED STATES DEPARTMENT OF
 LABOR,

        Defendants,

 LITTLE SISTERS OF THE POOR SAINTS
 PETER AND PAUL HOME,

        Intervenor-Defendant.


       DEFENDANT-INTERVENOR’S MOTION TO APPEAR BY TELEPHONE

   Date: December 13, 2018
   Time: 3:30 pm
   Courtroom: 3B
   Judge: Hon. Wendy Beetlestone

   Defendant-Intervenor the Little Sisters of the Poor Saints Peter and Paul Home (the “Little

Sisters”) hereby seeks leave to appear by telephone at the status conference scheduled for

December 13, 2013. Counsel for the Little Sisters are located in Washington, D.C. and believe that

they can present their position by phone. Therefore, pursuant to this Court’s procedures, they seek

leave to do so. Pennsylvania and the federal defendants do not oppose this request to appear by

telephone.



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Dated: December 10, 2018            Respectfully submitted,

                                    /s/ Mark Rienzi
                                    Mark Rienzi, pro hac vice
                                    Eric C. Rassbach pro hac vice pending
                                    Lori Windham pro hac vice
                                    The Becket Fund for Religious Liberty
                                    1200 New Hampshire Ave. NW, Suite 700
                                    Washington, DC 20036
                                    Telephone: (202) 955-0095
                                    Facsimile: (202) 955-0090

                                    Nicholas M. Centrella
                                    Conrad O’Brien PC
                                    1500 Market Street, Suite 3900
                                    Philadelphia, PA 19102-2100
                                    Telephone: (215) 864-8098
                                    Facsimile: (215) 864-0798
                                    ncentrella@conradobrien.com




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                                CERTIFICATE OF SERVICE

   I hereby certify that a copy of the foregoing document was electronically filed with the Clerk

of the Court for the United States District Court for the Eastern District of Pennsylvania using the

CM/ECF system, and that service will be effectuated through the CM/ECF system.

Dated: December 10, 2018

                                               /s/ Mark Rienzi
                                              Mark Rienzi




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